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AO 442 (REV. 12/85)




                             UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS, DEL RIO DIVISION

United States of America                                    §
                                                            § CRIMINAL COMPLAINT
vs.                                                         § CASE NUMBER: DR:22-M -01478(1)
                                                            §
(1) Jaime Luis Dominguez                                    §



                I, the undersigned complainant being duly sworn state the following is true and correct to the best

of my knowledge and belief. On or about June 21, 2022 in Uvalde county, in the WESTERN DISTRICT OF

TEXAS defendant(s) did, conspire with and other unnamed co-conspirators, to transport, or move or attempt

to transport or move, certain persons, knowing or in reckless disregard of the fact that that such persons

were aliens illegally present in the United States, a felony,

in violation of Title             8            United States Code, Section(s)     1324(a)(1)(A)(v)(I)

.

                I further state that I am a(n) Border Patrol Agent and that this complaint is based on the

following facts: "On June 21, 2022, defendant, Jaime Luis Dominguez, a U.S. Citizen, was arrested near

Uvalde, TX for conspiracy to transport one illegal alien into the U.S. Defendant was encountered driving a

silver 2013 Cadillac Escalade at the Uvalde Border Patrol Checkpoint on Hwy 90. Upon questioning of the

vehicle's occupants', agents discovered defendant was transporting one illegal alien who was covered by

several blankets.

Continued on the attached sheet and made a part of hereof.




Sworn to before me and subscribed in my presence,
                                                                           Signature of Complainant
                                                                           Melton, Lance T.
                                                                           Border Patrol Agent

06/23/2022                                                            at   DEL RIO, Texas
File Date                                                                  City and State



VICTOR ROBERTO GARCIA                                                      ______________________________
UNITED STATES MAGISTRATE JUDGE                                             Signature of Judicial Officer
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CONTINUATION OF CRIMINAL COMPLAINT

                               WESTERN DISTRICT OF TEXAS
      UNITED STATES OF AMERICA

                      vs.                             Case Number: DR:22-M -01478(1)

          (1) Jaime Luis Dominguez

Continuation of Statement of Facts:

Defendant admitted conspiring with an individual known as "Guero" to pick up and transport the illegal alien from
Del Rio, TX to San Antonio, TX for $2,500 USD."




______________________________
Signature of Judicial Officer                                 Signature of Complainant
